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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Chicago Police Officers SHANNON                       )
SPALDING and DANIEL ECHEVERRIA,                       )
                                                      )
         Plaintiffs,                                  )
                                                      )
v.                                                    )       Case No. 12-cv-8777
                                                      )
CITY OF CHICAGO, Chicago Police Chief                 )       Judge Gary Feinerman
JUAN RIVERA, Chicago Police Chief                     )
JAMES O’GRADY, Chicago Police Chief                   )       Magistrate Judge Sheila M. Finnegan
NICHOLAS ROTI, Chicago Police Lt.                     )
Sergeant MAURICE BARNES, Chicago Police               )
Lt. ROBERT CESARIO, Chicago Police                    )
Commander JOSEPH SALEMME, Chicago                     )
Police Sergeant THOMAS MILLS,                         )
                                                      )
        Defendants.                                   )


 PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ SECOND MOTION
IN LIMINE TO BAR ANY EVIDENCE OF MAYOR RAHM EMANUEL’S COMMENTS
REGARDING THE EXISTENCE OF A CODE OF SILENCE OR ATTEMPTS TO CALL
                      HIM TO TESTIFY AT TRIAL

        The deposition of a high ranking public official creates unique concerns; it should not be

a routine part of civil litigation. See Olivieri v. Rodriguez, 122 F.3d 406, 409-10 (7th Cir.1997);

Stagman v. Ryan, 176 F.3d 986, 994-95 (7th Cir.1999). On the other hand, if the official has

relevant information, the parties may not be deprived of that information simply because of the

official's status. See Clinton v. Jones, 520 U.S. 681, 703-05, 117 S.Ct. 1636, 137 L.Ed.2d 945

(1997) (citing cases in which the President of the United States was required to provide

testimony); Northwestern Univ. v. City of Evanston, 2001 WL 743756 (N.D.Ill. June 29, 2001)

(Aspen, C.J.) (reversing magistrate judge's ruling precluding the plaintiff from deposing the

mayor and city manager). Hobley v. Burge, 03 C 3678, 2007 WL 551569, at *2 (N.D. Ill. Feb.



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22, 2007)(compelling the deposition of Mayor Daley)

          The chief policymaker of the City of Chicago, Mayor Rahm Emanuel, publically stated in

December, 2015 when asked if there is a code of silence that exists among Chicago police

officers, “The short answer is yes.” See, The Mayor’s “Police Accountability Task Force

Report”, April 2016 at pp 69-70.1 The Mayor went on to address the Chicago City Council and

elaborate on the existence of the code, its long standing nature and the harm it was causing to the

City.2

          This month, the Mayor’s Police Accountability Task Force Report concluded that “the

code of silence is not just an unwritten rule, or an unfortunate element of police culture past and

present. The code of silence is institutionalized and reinforced by CPD rules and policies that are

also baked into the labor agreements between the various police unions and the City.” The

Mayor’s “Police Accountability Task Force Report”, April 2016 at pp 69-70.

          The Mayor’s words, speaking on behalf of the City, constitute statements of an opposing

party and are admissible pursuant to Rule 801 of the Federal Rules of Evidence. The Mayor,

therefore, must be compelled to testify in the within action pursuant to an appropriate Notice to

Appear for Trial or, if the City prefers, through a video deposition.

          As discussed in more detail in Plaintiff’s Response to the City’s First and Twelfth

Motions in Limine, the code of silence is the heart of the Plaintiffs’ Monell claims in this case.

As the Defendants’ correctly point out citing Fuery v. City of Chicago, 07 cv 5429, Dkt. #439

(Order of 2/16/16 denying plaintiffs’ motion to compel the deposition of Mayor Emanuel to give

testimony related to an alleged code of silence); see also Olivieri v. Rodriquez, 122 F. 3d 406

(the plaintiffs must show specific, actual and unique knowledge regarding the claims at issue.)


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    https://chicagopatf.org/wp-content/uploads/2016/04/PATF_Final_Report_4_13_16-1.pdf
2
    http://www.nbcchicago.com/news/local/Emanuel-Address-at-Special-City-Council-Meeting-361205381.html

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        Mayor Emanuel’s testimony speaks directly to the widespread policies and practices of

the City that Plaintiffs allege resulted in the constitutional violations in this case. In addition,

Mayor Emanuel’s admissions directly refute the testimony of the City’s 30(b)(6) witnesses

Captain Michael Pigott and Commander Robert Klimas – both of whom specifically denied

under oath that there was any such thing as a code of silence within the Chicago Police

Department.

        In Cannon v. Burge, No. 05 C 2192, 2007 WL 2410392, at *5 (N.D. Ill. Aug. 20, 2007),

the court refused to compel the deposition of Mayor Daley, without prejudice, solely because the

Court had stayed the plaintiffs’ Monell claims. The court’s opinion allows the plaintiffs to refile

their motion to compel Mayor Daley’s testimony “if and when the court lifts the Monell

discovery stay.” Id at *5. That is exactly the situation presented in the instant case.

                                           CONCLUSION

        The Defendants’ Motion to bar evidence of Mayor Emanuel’s admissions regarding the

code of silence should be denied. Defendants’ motion to prohibit Mayor Emanuel from testifying

at trial should also be denied. Plaintiffs would be open to Defendants suggestions on how to limit

inconvenience for the mayor as to how to proceed with the introduction of the testimony.


                                        Respectfully submitted,

                                        /s/ Jeffrey L. Taren


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